Case 1:O4-md-01596-.]BW-RLI\/| Document 1152 Filed 02/12/07 Page 1 of 1 Page|D #: 9577

 

 

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UNITED sTATES DISTRICT CoURT U“S_ D.STR¢CT wm z=..n.~.v,
EASTERN DISTRICT oF NEW YORK *BRQOKLYN OFFIGE *
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In re: zYPREXA AMENDED 0RDER
PRODUCTS LIABILITY LITIGATION
---------------- x
THIS DOCUMENT RELATES TO:
ALL ACTIONS 04-MDL-1596

X

 

JACK B. WEINSTEIN, Senior United States District Judge:

A motion to declassify documents that are the subject of this court’s preliminary
injunction of Jariuary 4, 2007, and to modify the protective order under which those documents
were classified, has been made by parties subject to the injunction. The parties may arrange with
case manager June Lowe, Who can be reached at (718) 613-2525, to set a date for argument of
this motion after the pending injunction proceedings, and related contempt actions, if any, have
been completed The motion is denied with leave to renew.

The brief filed in support of the motion Will also be treated as a submission in the pending

injunction proceedings

SO OR.DERED.

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%Lon JackB. Weinstein

Date: February 8, 2007
Brooklyn, N.Y.

